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MINUTE ENTRY
AFRICK, J.
JANUARY 29, 2018
JS10 - 02:00

                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

 LASHAWN JONES, et al                                      CIVIL ACTION
 VERSUS                                                    NUMBER: 12-859
 MARLIN N. GUSMAN, et al                                   SECTION: I

                                  STATUS HEARING

COURTROOM DEPUTY: Bridget Gregory
COURT REPORTER: Karen Ibos

APPEARANCES:        Elizabeth Cumming, Katharine Schwartzmann and Emily Washington,
                    Counsel for plaintiffs
                    Megan Marks, Theodore Carter, III and Kerry Dean, Counsel for
                    intervenor plaintiff United States of America
                    Blake Arcuri, Counsel for defendant Orleans Parish Sheriff’s Office
                    Rebecca Dietz, Counsel for third party defendant City of New Orleans

Case called.
Gary Maynard, Orleans Parish Jail's Independent Compliance Director, addressed the Court.
Introduction by Margo L. Frasier of Diane Skipworth and Shane Poole, to replace Harry
Grenawitzke, as sanitation & environmental conditions and fire & life safety submonitors.
Dr. Patricia Hardyman, classification submonitor, addressed the Court.
Tommie Vassell, chair of the budgetary working group, addressed the Court.
Dr. Raymond F. Patterson, mental healthcare submonitor, addressed the Court.
Dr. Robert B. Greifinger, medical care submonitor, addressed the Court.
Margo L. Frasier, lead monitor, addressed the Court.
Court adjourned.
